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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

 UNITED STATES OF AMERICA                                               PLAINTIFF/RESPONDENT

 v.                                    Case Nos. 2:13-CV-02044
                                                 2:11-CR-20043

 JAIME ACEVES-MARTINEZ                                                DEFENDANT/PETITIONER

                                             ORDER

        The Court has received proposed findings and recommendations (Doc. 110) from Chief

 United States Magistrate Judge James R. Marschewski. There have been no objections and the time

 period for filing objections has passed.1

        The Court has reviewed this case and finds that the report and recommendation is proper,

 contains no clear error,2 and should be and hereby is ADOPTED IN ITS ENTIRETY. IT IS

 THEREFORE ORDERED that Petitioner Jaime Aceves-Martinez’s motion for leave to file a new

 2255 motion (Doc. 108) is DENIED.

        IT IS SO ORDERED this 31st day of July, 2014.


                                                               /s/P. K. Holmes, III
                                                               P.K. HOLMES, III
                                                               CHIEF U.S. DISTRICT JUDGE



        1
          It appears that the Magistrate’s report and recommendations was sent to Petitioner’s last-
 known address and returned marked as undeliverable and unable to forward. Pursuant to Local Rule
 5.5(c)(2), “[i]t is the duty of any party not represented by counsel to promptly notify the Clerk and
 the other parties to the proceedings of any change in his or her address, to monitor the progress of
 the case, and to prosecute or defend the action diligently.”
        2
          While the Court does note a drafting error in that a paragraph is repeated on page 2 of the
 report and recommendation, this or any other drafting errors are not legal errors affecting the rights
 of the Petitioner and do not require the Court to depart from the recommendations or findings
 contained in the report.
